     Case: 2:09-cv-00396-JDH-NMK Doc #: 6 Filed: 09/01/09 Page: 1 of 2 PAGEID #: 13




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

Robert Neff                                        Case No.: 2:09-cv-00396-JDH-NMK

         Plaintiff,

v.                                                        NOTICE OF SETTLEMENT

Allied Interstate, Inc.

         Defendant.




         Now comes Plaintiff, by and through counsel, and hereby gives notice that the parties in

the above-captioned matter reached a settlement. Plaintiff anticipates filing a Notice of

Dismissal with Prejudice in 30 days.



                                              RESPECTFULLY SUBMITTED,

                                              Macey & Aleman, P.C.

                                              By: /s/ Richard J. Meier
                                              Richard J. Meier
                                              233 S. Wacker Drive, Suite 5150
                                              Chicago, IL 60606
                                              Tel: 1.866.339.1156
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  Case: 2:09-cv-00396-JDH-NMK Doc #: 6 Filed: 09/01/09 Page: 2 of 2 PAGEID #: 14




                                  CERTIFICATE OF SERVICE

       I hereby certify that on a copy of the foregoing Notice was filed electronically. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties indicated

on the electronic filing receipt. The following party was served via regular U.S. mail.

Allied Interstate, Inc.
3000 Corporate Exchange Dr
Columbus, OH 43231

                                                               /s/ Richard J. Meier
